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Counsel for Plaintiff and the Putative Class


                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH


    SHERRY TERESA, individually and on behalf of
    all others similarly situated,
                                                     STIPULATED MOTION FOR AN
                        Plaintiff,                   EXTENSION OF TIME

           v.                                        Case No. 4:24-cv-00033-AMA-PK
                                                     Judge Ann Marie McIff Allen
    MAYO FOUNDATION FOR MEDICAL
    EDUCATION AND RESEARCH,                          Magistrate Judge Paul Kohler
                        Defendant.




                                     STIPULATED MOTION

         By and through counsel, Plaintiff Sherry Teresa and Defendant Mayo Foundation for

Medical Education and Research (collectively “the Parties”), respectfully file this Stipulated

Motion for an Extension of Time for Plaintiff to respond to Defendant’s Motion to Dismiss the

First Amended Complaint,1 and state as follows:




1
    Dkt. 29.
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        Relief requested: The Parties request a two-week enlargement of time for Plaintiff to file

her opposition to Defendant’s Motion to Dismiss (ECF No. 29) and for Defendant to file its reply

respectively. Under DUCivR 7-1(1)(4), Plaintiff’s opposition is presently due on August 28, 2024

and Defendant’s reply is due September 11, 2024.

        Grounds: This is a putative class action that alleges that Defendant violated Utah’s Notice

of Intent to Sell Nonpublic Personal Information Act, Utah Code Ann. § 13-37-101, et. seq. (the

“NISNPIA”) by renting, selling, exchanging, and otherwise disclosing Nonpublic Personal

Information it obtained through its sales of publications to Utah consumers without first providing

consumers notice required under the NISNPIA statute. Defendant’s Motion to Dismiss the FAC,

which was filed on July 31, 2024, seeks dismissal of Plaintiff’s claims on several grounds – that

the Court lacks subject matter jurisdiction because NISNPIA bars federal class actions, that the

Court otherwise lacks subject matter jurisdiction because Plaintiff cannot meet CAFA’s

requirements, that Plaintiff lacks Article III standing, and that Plaintiffs have failed to state a claim

under the statute because Defendant is not a covered “commercial entity” under the NISNPIA.

         Plaintiff seeks, and Defendant does not oppose, an additional two weeks to respond to

Defendant’s legal and factual arguments, and because of the press of other pending matters,

counsel requires additional time to prepare an opposition that fully addresses Defendant’s multiple

grounds for dismissal. The parties have agreed Defendant shall receive a similar enlargement of

time for its reply. Accordingly, the Parties respectfully request that the Court adjust the briefing

schedule on the motion to dismiss as follows:

        Plaintiff’s Opposition due: September 11, 2024

        Defendant’s Reply due: October 9, 2024




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Dated: August 14, 2024                   Respectfully submitted,

/s/______________________________
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